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                           Transcription of Notes of DAD Peter Strzok
                                  Undated (possibly 3/28/2017)
                           Document ECF 248-4, replaced by ECF 259-3


Thurs 400 [U/I]
930 : DOJ re Gulen Bruce Swartz, George,
   [REDACTED] Lisa
Turkey/Gulen: AG met w/ Turke foreign minister
       last week + spoke w/ Turk Minister of
All docs added
Turks + Flynn: why hired + what doing
951?
       Efforts to influence
       Satisfied registration obligation
              No indication of willfulness
[REDACTED]


Opposition research enterprise re Gulen
Inovo as cover. Would they have $500K or
       simply pass thru?
Altepkin’s tweets all about Gulen
[REDACTED]
Bruce: Subpoena for Flynn Intel group + more
